                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:05CR236

UNITED STATES OF AMERICA                    )
                                            )
               vs.                          )              ORDER
                                            )
                                            )
                                            )
Dennis Black                                )



       The matter is before the court upon its own motion for a continuance of this matter
from the June 6, 2005 criminal term in the Charlotte Division. The court has been informed
that Defendant was erroneously scheduled for June 7, 2005.

        The court finds that the ends of justice served by taking such action outweigh the
interest of the public and defendants to a speedy trial as set forth in 18: U.S.C. 3161(h)(8)(1).

      IT IS THEREFORE ORDERED that the above captioned case is continued to the
September 12, 2005 criminal term of court as to the above named Defendant.

       The Clerk is directed to certify copies of this order to Defendant, counsel for
Defendant, to the United States Attorney, the United States Marshals Service, and the U.S.
Probation Office.




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                        Signed: July 15, 2005




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